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                            CERTIFICATE OF SERVICE
                            U




   I, P. Leigh O’Dell, hereby certify that I caused a copy of the foregoing Motion and
   Notice of Motion of the Plaintiffs’ Steering Committee to Exclude the Opinions of
   Drs. Ann G. Wylie and Melinda Darby Dyar to be filed electronically via the
   court’s electronic filing system the 7 th day of May, 2019. Those attorneys who are
                                        P   P




   registered with the court’s electronic filing system may access these filings through
   the court’s system, and notice of these filings will be sent to these parties by
   operation of the court’s electronic filing system.


   Dated:       May 7, 2019                     /s/ P. Leigh O’Dell
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                                                P. Leigh O’Dell
